                Case 2:15-cr-00141-SMJ                    ECF No. 199               filed 01/24/18       PageID.740 Page 1 of 8
 2$2%     5HY -XGJPHQWLQD&ULPLQDO&DVH
                6KHHW5HYLVHGE\:$('

                                                                                                                                      FILED IN THE

                                              81,7('67$7(6',675,&7&2857                                                        U.S. DISTRICT COURT
                                                                                                                            EASTERN DISTRICT OF WASHINGTON


                                                (DVWHUQ'LVWULFW RI :DVKLQJWRQ                                          Jan 24, 2018
           81,7('67$7(62)$0(5,&$                                           JUDGMENT IN A CRIMINAL CASESEAN F. MCAVOY, CLERK
                      V.
            PALEMON FRAGOZA-CAMARGO                                          &DVH1XPEHU           2:15CR00141-SMJ-003

                                                                             8601XPEHU            18801-085

                                                                                    Amy H. Rubin
                                                                             'HIHQGDQW¶V$WWRUQH\




 THE DEFENDANT

 ✔SOHDGHGJXLOW\WRFRXQW V
 G                                     1, 3, 4, 5, and 6 of the Indictment
 G SOHDGHGQRORFRQWHQGHUHWRFRXQW V
    ZKLFKZDVDFFHSWHGE\WKHFRXUW
 G ZDVIRXQGJXLOW\RQFRXQW V
    DIWHUDSOHDRIQRWJXLOW\

 7KHGHIHQGDQWLVDGMXGLFDWHGJXLOW\RIWKHVHRIIHQVHV

 Title & Section                             Nature of Offense                                                        Offense Ended Count
21 U.S.C. § 841(a)(1),(b)(1)(C)     Distribution of a Mixture or Substance Containing a Detectable Amount of             09/10/15       1
                                    Methamphetamine
21 U.S.C. § 841(a)(1),(b)(1)(C)     Distribution of a Mixture or Substance Containing a Detectable Amount of             10/23/15       3
                                    Methamphetamine
21 U.S.C. § 841(a)(1),(b)(1)(C)     Distribution of a Mixture or Substance Containing a Detectable Amount of             11/18/15       4
        7KHGHIHQGDQWLVVHQWHQFHGDVSURYLGHGLQSDJHVWKURXJK          8     RIWKLVMXGJPHQW7KHVHQWHQFHLVLPSRVHGSXUVXDQWWR
 WKH6HQWHQFLQJ5HIRUP$FWRI
 G 7KHGHIHQGDQWKDVEHHQIRXQGQRWJXLOW\RQFRXQW V
 G &RXQW V                                                          G LV       G DUHGLVPLVVHGRQWKHPRWLRQRIWKH8QLWHG6WDWHV
          ,WLVRUGHUHGWKDWWKHGHIHQGDQWPXVWQRWLI\WKH8QLWHG6WDWHVDWWRUQH\IRUWKLVGLVWULFWZLWKLQGD\VRIDQ\FKDQJHRIQDPHUHVLGHQFH
 RUPDLOLQJDGGUHVVXQWLODOOILQHVUHVWLWXWLRQFRVWVDQGVSHFLDODVVHVVPHQWVLPSRVHGE\WKLVMXGJPHQWDUHIXOO\SDLG,IRUGHUHGWRSD\UHVWLWXWLRQ
 WKHGHIHQGDQWPXVWQRWLI\WKHFRXUWDQG8QLWHG6WDWHVDWWRUQH\RIPDWHULDOFKDQJHVLQHFRQRPLFFLUFXPVWDQFHV

                                                               1/23/2018
                                                             'DWHRI,PSRVLWLRQRI-XGJPHQW




                                                             6LJQDWXUHRI-XGJH




                                                             The Honorable Salvador Mendoza, Jr.                Judge, U.S. District Court
                                                             1DPHDQG7LWOHRI-XGJH
                                                             


                                                               1/24/2018
                                                             'DWH
                                                             
               Case 2:15-cr-00141-SMJ                     ECF No. 199     filed 01/24/18       PageID.741 Page 2 of 8
  $2%      5HY -XGJPHQWLQD&ULPLQDO&DVH
              6KHHW$
                                                                                                         -XGJPHQW²3DJH         RI
                                                                                                                         2           8
  '()(1'$17 PALEMON FRAGOZA-CAMARGO
  &$6(180%(5 2:15CR00141-SMJ-003

                                             ADDITIONAL COUNTS OF CONVICTION
 Title & Section                   Nature of Offense                                                              Offense Ended     Count
                               Methamphetamine
21 U.S.C. § 841(a)(1),          Possession with Intent to Distribute 50 Grams or More of Pure (Actual)              12/03/15             5
   (b)(1)(A)(viii)              Methamphetamine
21 U.S.C. § 846                 Conspiracy to Distribute 50 Grams or More of Pure (Actual) Methamphetamine         12/03/15              6
              Case 2:15-cr-00141-SMJ                   ECF No. 199             filed 01/24/18       PageID.742 Page 3 of 8
$2%    5HY -XGJPHQWLQ&ULPLQDO&DVH
           6KHHW²,PSULVRQPHQW

                                                                                                         -XGJPHQW²3DJH   3       RI   8
'()(1'$17 PALEMON FRAGOZA-CAMARGO
&$6(180%(5 2:15CR00141-SMJ-003


                                                              IMPRISONMENT

       7KHGHIHQGDQWLVKHUHE\FRPPLWWHGWRWKHFXVWRG\RIWKH)HGHUDO%XUHDXRI3ULVRQVWREHLPSULVRQHGIRUDWRWDO
WHUPRI

 Time heretofore served by the defendant - 783 days. The defendant shall not serve any additional term of imprisonment in this matter with
 respect to each of Counts 1, 3, 4, 5 and 6 of the Indictment.



   G 7KHFRXUWPDNHVWKHIROORZLQJUHFRPPHQGDWLRQVWRWKH%XUHDXRI3ULVRQV




   G 7KHGHIHQGDQWLVUHPDQGHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV0DUVKDO

   G 7KHGHIHQGDQWVKDOOVXUUHQGHUWRWKH8QLWHG6WDWHV0DUVKDOIRUWKLVGLVWULFW
       G     DW                                      G DP     G SP          RQ                                             

       G     DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

   G 7KHGHIHQGDQWVKDOOVXUUHQGHUIRUVHUYLFHRIVHQWHQFHDWWKHLQVWLWXWLRQGHVLJQDWHGE\WKH%XUHDXRI3ULVRQV
       G     EHIRUHSPRQ                                              

       G     DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

       G     DVQRWLILHGE\WKH3UREDWLRQRU3UHWULDO6HUYLFHV2IILFH


                                                                    RETURN
,KDYHH[HFXWHGWKLVMXGJPHQWDVIROORZV




       'HIHQGDQWGHOLYHUHGRQ                                                              WR

DW                                                   ZLWKDFHUWLILHGFRS\RIWKLVMXGJPHQW



                                                                                                      81,7('67$7(60$56+$/


                                                                           %\
                                                                                                   '(387<81,7('67$7(60$56+$/
               Case 2:15-cr-00141-SMJ                 ECF No. 199       filed 01/24/18       PageID.743 Page 4 of 8
$2% 5HY   -XGJPHQWLQD&ULPLQDO&DVH
                      6KHHW²6XSHUYLVHG5HOHDVH
                                                                                                      -XGJPHQW²3DJH     4    RI        8
'()(1'$17 PALEMON FRAGOZA-CAMARGO
&$6(180%(5 2:15CR00141-SMJ-003
                                                      SUPERVISED RELEASE
8SRQUHOHDVHIURPLPSULVRQPHQW\RXZLOOEHRQVXSHUYLVHGUHOHDVHIRUDWHUPRI           5 years




                                                     MANDATORY CONDITIONS
   <RXPXVWQRWFRPPLWDQRWKHUIHGHUDOVWDWHRUORFDOFULPH
   <RXPXVWQRWXQODZIXOO\SRVVHVVDFRQWUROOHGVXEVWDQFHLQFOXGLQJPDULMXDQDZKLFKUHPDLQVLOOHJDOXQGHUIHGHUDOODZ
   <RXPXVWUHIUDLQIURPDQ\XQODZIXOXVHRIDFRQWUROOHGVXEVWDQFH<RXPXVWVXEPLWWRRQHGUXJWHVWZLWKLQGD\VRIUHOHDVHIURP
     LPSULVRQPHQWDQGDWOHDVWWZRSHULRGLFGUXJWHVWVWKHUHDIWHUDVGHWHUPLQHGE\WKHFRXUW
            G 7KHDERYHGUXJWHVWLQJFRQGLWLRQLVVXVSHQGHGEDVHGRQWKHFRXUW VGHWHUPLQDWLRQWKDW\RX
               SRVHDORZULVNRIIXWXUHVXEVWDQFHDEXVH(check if applicable)
    ✔
      G <RXPXVWFRRSHUDWHLQWKHFROOHFWLRQRI'1$DVGLUHFWHGE\WKHSUREDWLRQRIILFHU(check if applicable)
     G <RXPXVWFRPSO\ZLWKWKHUHTXLUHPHQWVRIWKH6H[2IIHQGHU5HJLVWUDWLRQDQG1RWLILFDWLRQ$FW 86&et seq DV
         GLUHFWHGE\WKHSUREDWLRQRIILFHUWKH%XUHDXRI3ULVRQVRUDQ\VWDWHVH[RIIHQGHUUHJLVWUDWLRQDJHQF\LQZKLFK\RXUHVLGHZRUN
         DUHDVWXGHQWRUZHUHFRQYLFWHGRIDTXDOLI\LQJRIIHQVH(check if applicable)
     G <RXPXVWSDUWLFLSDWHLQDQDSSURYHGSURJUDPIRUGRPHVWLFYLROHQFH(check if applicable)

<RXPXVWFRPSO\ZLWKWKHVWDQGDUGFRQGLWLRQVWKDWKDYHEHHQDGRSWHGE\WKLVFRXUWDVZHOODVZLWKDQ\RWKHUFRQGLWLRQVRQWKHDWWDFKHG
SDJH
              Case 2:15-cr-00141-SMJ                    ECF No. 199       filed 01/24/18        PageID.744 Page 5 of 8
$2% 5HY    -XGJPHQWLQD&ULPLQDO&DVH
                        6KHHW$²6XSHUYLVHG5HOHDVH
                                                                                               -XGJPHQW²3DJH        5         RI        8
'()(1'$17 PALEMON FRAGOZA-CAMARGO
&$6(180%(5 2:15CR00141-SMJ-003

                                        STANDARD CONDITIONS OF SUPERVISION
$VSDUWRI\RXUVXSHUYLVHGUHOHDVH\RXPXVWFRPSO\ZLWKWKHIROORZLQJVWDQGDUGFRQGLWLRQVRIVXSHUYLVLRQ7KHVHFRQGLWLRQVDUHLPSRVHG
EHFDXVHWKH\HVWDEOLVKWKHEDVLFH[SHFWDWLRQVIRU\RXUEHKDYLRUZKLOHRQVXSHUYLVLRQDQGLGHQWLI\WKHPLQLPXPWRROVQHHGHGE\SUREDWLRQ
RIILFHUVWRNHHSLQIRUPHGUHSRUWWRWKHFRXUWDERXWDQGEULQJDERXWLPSURYHPHQWVLQ\RXUFRQGXFWDQGFRQGLWLRQ

    <RXPXVWUHSRUWWRWKHSUREDWLRQRIILFHLQWKHIHGHUDOMXGLFLDOGLVWULFWZKHUH\RXDUHDXWKRUL]HGWRUHVLGHZLWKLQKRXUVRI\RXU
      UHOHDVHIURPLPSULVRQPHQWXQOHVVWKHSUREDWLRQRIILFHULQVWUXFWV\RXWRUHSRUWWRDGLIIHUHQWSUREDWLRQRIILFHRUZLWKLQDGLIIHUHQWWLPH
      IUDPH
    $IWHULQLWLDOO\UHSRUWLQJWRWKHSUREDWLRQRIILFH\RXZLOOUHFHLYHLQVWUXFWLRQVIURPWKHFRXUWRUWKHSUREDWLRQRIILFHUDERXWKRZDQG
      ZKHQ\RXPXVWUHSRUWWRWKHSUREDWLRQRIILFHUDQG\RXPXVWUHSRUWWRWKHSUREDWLRQRIILFHUDVLQVWUXFWHG
    <RXPXVWQRWNQRZLQJO\OHDYHWKHIHGHUDOMXGLFLDOGLVWULFWZKHUH\RXDUHDXWKRUL]HGWRUHVLGHZLWKRXWILUVWJHWWLQJSHUPLVVLRQIURPWKH
      FRXUWRUWKHSUREDWLRQRIILFHU
    <RXPXVWEHWUXWKIXOZKHQUHVSRQGLQJWRWKHTXHVWLRQVDVNHGE\\RXUSUREDWLRQRIILFHU
    <RXPXVWOLYHDWDSODFHDSSURYHGE\WKHSUREDWLRQRIILFHU,I\RXSODQWRFKDQJHZKHUH\RXOLYHRUDQ\WKLQJDERXW\RXUOLYLQJ
      DUUDQJHPHQWV VXFKDVWKHSHRSOH\RXOLYHZLWK \RXPXVWQRWLI\WKHSUREDWLRQRIILFHUDWOHDVWGD\VEHIRUHWKHFKDQJH,IQRWLI\LQJ
      WKHSUREDWLRQRIILFHULQDGYDQFHLVQRWSRVVLEOHGXHWRXQDQWLFLSDWHGFLUFXPVWDQFHV\RXPXVWQRWLI\WKHSUREDWLRQRIILFHUZLWKLQ
      KRXUVRIEHFRPLQJDZDUHRIDFKDQJHRUH[SHFWHGFKDQJH
    <RXPXVWDOORZWKHSUREDWLRQRIILFHUWRYLVLW\RXDWDQ\WLPHDW\RXUKRPHRUHOVHZKHUHDQG\RXPXVWSHUPLWWKHSUREDWLRQRIILFHUWR
      WDNHDQ\LWHPVSURKLELWHGE\WKHFRQGLWLRQVRI\RXUVXSHUYLVLRQWKDWKHRUVKHREVHUYHVLQSODLQYLHZ
    <RXPXVWZRUNIXOOWLPH DWOHDVWKRXUVSHUZHHN DWDODZIXOW\SHRIHPSOR\PHQWXQOHVVWKHSUREDWLRQRIILFHUH[FXVHV\RXIURP
      GRLQJVR,I\RXGRQRWKDYHIXOOWLPHHPSOR\PHQW\RXPXVWWU\WRILQGIXOOWLPHHPSOR\PHQWXQOHVVWKHSUREDWLRQRIILFHUH[FXVHV
      \RXIURPGRLQJVR,I\RXSODQWRFKDQJHZKHUH\RXZRUNRUDQ\WKLQJDERXW\RXUZRUN VXFKDV\RXUSRVLWLRQRU\RXUMRE
      UHVSRQVLELOLWLHV \RXPXVWQRWLI\WKHSUREDWLRQRIILFHUDWOHDVWGD\VEHIRUHWKHFKDQJH,IQRWLI\LQJWKHSUREDWLRQRIILFHUDWOHDVW
      GD\VLQDGYDQFHLVQRWSRVVLEOHGXHWRXQDQWLFLSDWHGFLUFXPVWDQFHV\RXPXVWQRWLI\WKHSUREDWLRQRIILFHUZLWKLQKRXUVRI
      EHFRPLQJDZDUHRIDFKDQJHRUH[SHFWHGFKDQJH
    <RXPXVWQRWFRPPXQLFDWHRULQWHUDFWZLWKVRPHRQH\RXNQRZLVHQJDJHGLQFULPLQDODFWLYLW\,I\RXNQRZVRPHRQHKDVEHHQ
      FRQYLFWHGRIDIHORQ\\RXPXVWQRWNQRZLQJO\FRPPXQLFDWHRULQWHUDFWZLWKWKDWSHUVRQZLWKRXWILUVWJHWWLQJWKHSHUPLVVLRQRIWKH
      SUREDWLRQRIILFHU
    ,I\RXDUHDUUHVWHGRUTXHVWLRQHGE\DODZHQIRUFHPHQWRIILFHU\RXPXVWQRWLI\WKHSUREDWLRQRIILFHUZLWKLQKRXUV
   <RXPXVWQRWRZQSRVVHVVRUKDYHDFFHVVWRDILUHDUPDPPXQLWLRQGHVWUXFWLYHGHYLFHRUGDQJHURXVZHDSRQ LHDQ\WKLQJWKDWZDV
      GHVLJQHGRUZDVPRGLILHGIRUWKHVSHFLILFSXUSRVHRIFDXVLQJERGLO\LQMXU\RUGHDWKWRDQRWKHUSHUVRQVXFKDVQXQFKDNXVRUWDVHUV 
   <RXPXVWQRWDFWRUPDNHDQ\DJUHHPHQWZLWKDODZHQIRUFHPHQWDJHQF\WRDFWDVDFRQILGHQWLDOKXPDQVRXUFHRULQIRUPDQWZLWKRXW
      ILUVWJHWWLQJWKHSHUPLVVLRQRIWKHFRXUW
   ,IWKLVMXGJPHQWLPSRVHVUHVWLWXWLRQDILQHRUVSHFLDODVVHVVPHQWLWLVDFRQGLWLRQRIVXSHUYLVHGUHOHDVHWKDW\RXSD\LQDFFRUGDQFH
      ZLWKWKH6FKHGXOHRI3D\PHQWVVKHHWRIWKLVMXGJPHQW<RXVKDOOQRWLI\WKHSUREDWLRQRIILFHURIDQ\PDWHULDOFKDQJHLQ\RXUHFRQRPLF
      FLUFXPVWDQFHVWKDWPLJKWDIIHFW\RXUDELOLW\WRSD\DQ\XQSDLGDPRXQWRIUHVWLWXWLRQILQHRUVSHFLDODVVHVVPHQWV
   <RXPXVWIROORZWKHLQVWUXFWLRQVRIWKHSUREDWLRQRIILFHUUHODWHGWRWKHFRQGLWLRQVRIVXSHUYLVLRQ



U.S. Probation Office Use Only
$86SUREDWLRQRIILFHUKDVLQVWUXFWHGPHRQWKHFRQGLWLRQVVSHFLILHGE\WKHFRXUWDQGKDVSURYLGHGPHZLWKDZULWWHQFRS\RIWKLV
MXGJPHQWFRQWDLQLQJWKHVHFRQGLWLRQV)RUIXUWKHULQIRUPDWLRQUHJDUGLQJWKHVHFRQGLWLRQVVHHOverview of Probation and Supervised
Release ConditionsDYDLODEOHDWZZZXVFRXUWVJRY


'HIHQGDQW V6LJQDWXUH                                                                                    'DWH
            Case 2:15-cr-00141-SMJ                     ECF No. 199     filed 01/24/18       PageID.745 Page 6 of 8
$2%     5HY -XGJPHQWLQD&ULPLQDO&DVH
           6KHHW'²6XSHUYLVHG5HOHDVH
                                                                                                    -XGJPHQW²3DJH      6     RI       8
'()(1'$17 PALEMON FRAGOZA-CAMARGO
&$6(180%(5 2:15CR00141-SMJ-003

                                         SPECIAL CONDITIONS OF SUPERVISION
 1. The defendant is prohibited from returning to the United States without advance legal permission from the United States Attorney
 General or his designee. Should the defendant reenter the United States, he/she is required to report to the probation office within 72
 hours of reentry.
               Case 2:15-cr-00141-SMJ                    ECF No. 199             filed 01/24/18            PageID.746 Page 7 of 8
$2% 5HY  -XGJPHQWLQD&ULPLQDO&DVH
                      6KHHW²&ULPLQDO0RQHWDU\3HQDOWLHV
                                                                                                             -XGJPHQW²3DJH       7    RI        8
 '()(1'$17 PALEMON FRAGOZA-CAMARGO
 &$6(180%(5 2:15CR00141-SMJ-003
                                               CRIMINAL MONETARY PENALTIES
      7KHGHIHQGDQWPXVWSD\WKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVXQGHUWKHVFKHGXOHRISD\PHQWVRQ6KHHW

                        Assessment                  JVTA Assessment*                     Fine                        Restitution
 TOTALS             $        $500.00            $         $0.00                      $          $0.00            $
                                                                                                                               $0.00


 G 7KHGHWHUPLQDWLRQRIUHVWLWXWLRQLVGHIHUUHGXQWLO                     .$QAmended Judgment in a Criminal Case(AO 245C) ZLOOEHHQWHUHG
      DIWHUVXFKGHWHUPLQDWLRQ

 G 7KHGHIHQGDQWPXVWPDNHUHVWLWXWLRQ LQFOXGLQJFRPPXQLW\UHVWLWXWLRQ WRWKHIROORZLQJSD\HHVLQWKHDPRXQWOLVWHGEHORZ
      ,IWKHGHIHQGDQWPDNHVDSDUWLDOSD\PHQWHDFKSD\HHVKDOOUHFHLYHDQDSSUR[LPDWHO\SURSRUWLRQHGSD\PHQWXQOHVVVSHFLILHGRWKHUZLVHLQ
      WKHSULRULW\RUGHURUSHUFHQWDJHSD\PHQWFROXPQEHORZ+RZHYHUSXUVXDQWWR86& L DOOQRQIHGHUDOYLFWLPVPXVWEHSDLG
      EHIRUHWKH8QLWHG6WDWHVLVSDLG

     Name of Payee                                                             Total Loss**             Restitution Ordered      Priority or Percentage




                                                                  0.00                                       0.00
 TOTALS                              $                                           $


 G     5HVWLWXWLRQDPRXQWRUGHUHGSXUVXDQWWRSOHDDJUHHPHQW

 G     7KHGHIHQGDQWPXVWSD\LQWHUHVWRQUHVWLWXWLRQDQGDILQHRIPRUHWKDQXQOHVVWKHUHVWLWXWLRQRUILQHLVSDLGLQIXOOEHIRUH WKH
       ILIWHHQWKGD\DIWHUWKHGDWHRIWKHMXGJPHQWSXUVXDQWWR86& I $OORIWKHSD\PHQWRSWLRQVRQ6KHHWPD\EHVXEMHFW
       WRSHQDOWLHVIRUGHOLQTXHQF\DQGGHIDXOWSXUVXDQWWR86& J 

 G     7KHFRXUWGHWHUPLQHGWKDWWKHGHIHQGDQWGRHVQRWKDYHWKHDELOLW\WRSD\LQWHUHVWDQGLWLVRUGHUHGWKDW

       G WKHLQWHUHVWUHTXLUHPHQWLVZDLYHGIRU WKH           G ILQH         G UHVWLWXWLRQ
       G WKHLQWHUHVWUHTXLUHPHQWIRUWKH           G ILQH        G      UHVWLWXWLRQLVPRGLILHGDVIROORZV

   -XVWLFHIRU9LFWLPVRI7UDIILFNLQJ$FWRI3XE/1R
    )LQGLQJVIRUWKHWRWDODPRXQWRIORVVHVDUHUHTXLUHGXQGHU&KDSWHUV$$DQG$RI7LWOHIRURIIHQVHVFRPPLWWHGRQRU
 DIWHU6HSWHPEHUEXWEHIRUH$SULO
$2%      Case -XGJPHQWLQD&ULPLQDO&DVH
            5HY 2:15-cr-00141-SMJ             ECF No. 199            filed 01/24/18       PageID.747 Page 8 of 8
           6KHHW²6FKHGXOHRI3D\PHQWV

                                                                                                         -XGJPHQW²3DJH      8     RI       8
'()(1'$17 PALEMON FRAGOZA-CAMARGO
&$6(180%(5 2:15CR00141-SMJ-003

                                                   SCHEDULE OF PAYMENTS

+DYLQJDVVHVVHGWKHGHIHQGDQW¶VDELOLW\WRSD\SD\PHQWRIWKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVDUHGXHDVIROORZV

A     G    /XPSVXPSD\PHQWRI                           GXHLPPHGLDWHO\EDODQFHGXH

           G     QRWODWHUWKDQ                                  RU
           G     LQDFFRUGDQFH          G &     G '        G     (RU    G )EHORZRU
B     ✔ 3D\PHQWWREHJLQLPPHGLDWHO\ PD\EHFRPELQHGZLWK
      G                                                                    G &      G 'RU     ✔)EHORZ RU
                                                                                                 G
C     G    3D\PHQWLQHTXDO                    HJZHHNO\PRQWKO\TXDUWHUO\ LQVWDOOPHQWVRI                      RYHUDSHULRGRI
                        HJPRQWKVRU\HDUV WRFRPPHQFH                 HJRUGD\V DIWHUWKHGDWHRIWKLVMXGJPHQWRU

D     G    3D\PHQWLQHTXDO                     HJZHHNO\PRQWKO\TXDUWHUO\ LQVWDOOPHQWVRI                    RYHUDSHULRGRI
                         HJPRQWKVRU\HDUV WRFRPPHQFH                 HJRUGD\V DIWHUUHOHDVHIURPLPSULVRQPHQWWRD
           WHUPRIVXSHUYLVLRQRU

E     G    3D\PHQWGXULQJWKHWHUPRIVXSHUYLVHGUHOHDVHZLOOFRPPHQFHZLWKLQ                  HJRUGD\V DIWHUUHOHDVHIURP
           LPSULVRQPHQW7KHFRXUWZLOOVHWWKHSD\PHQWSODQEDVHGRQDQDVVHVVPHQWRIWKHGHIHQGDQW¶VDELOLW\WRSD\DWWKDWWLPHRU

F     ✔ 6SHFLDOLQVWUXFWLRQVUHJDUGLQJWKHSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHV
      G
      While on supervised release, monetary penalties are payable on a monthly basis of not less than $25.00 per month or 10% of the
      defendant's net household income, whichever is less, commencing 30 days after the defendant is released from imprisonment.




 8QOHVVWKHFRXUWKDVH[SUHVVO\RUGHUHGRWKHUZLVHLIWKLVMXGJPHQWLPSRVHVLPSULVRQPHQWSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHVLVGXH
 GXULQJWKHSHURLGRILPSULVRQPHQW$OOFULPLQDOPRQHWDU\SHQDOWLHVH[FHSW WKRVH SD\PHQWVPDGHWKURXJKWKH)HGHUDO%XUHDXRI3ULVRQV¶
 ,QPDWH)LQDQFLDO5HVSRQVLELOLW\3URJUDPDUHPDGHWRWKHIROORZLQJDGGUHVVXQWLOPRQHWDU\SHQDOWLHVDUHSDLGLQIXOO&OHUN86'LVWULFW
 &RXUW$WWHQWLRQ)LQDQFH32%R[6SRNDQH:$

 7KHGHIHQGDQWVKDOOUHFHLYHFUHGLWIRUDOOSD\PHQWVSUHYLRXVO\PDGHWRZDUGDQ\FULPLQDOPRQHWDU\SHQDOWLHVLPSRVHG

G     -RLQWDQG6HYHUDO

      'HIHQGDQWDQG&R'HIHQGDQW1DPHVDQG&DVH1XPEHUV LQFOXGLQJGHIHQGDQWQXPEHU 7RWDO$PRXQW-RLQWDQG6HYHUDO$PRXQW
      DQGFRUUHVSRQGLQJSD\HHLIDSSURSULDWH




G     7KHGHIHQGDQWVKDOOSD\WKHFRVWRISURVHFXWLRQ

G     7KHGHIHQGDQWVKDOOSD\WKHIROORZLQJFRXUWFRVW V 

G     7KHGHIHQGDQWVKDOOIRUIHLWWKHGHIHQGDQW¶VLQWHUHVWLQWKHIROORZLQJSURSHUW\WRWKH8QLWHG6WDWHV




3D\PHQWVVKDOOEHDSSOLHGLQWKHIROORZLQJRUGHU  DVVHVVPHQW  UHVWLWXWLRQSULQFLSDO  UHVWLWXWLRQLQWHUHVW  ILQHSULQFLSDO
  ILQHLQWHUHVW  FRPPXQLW\UHVWLWXWLRQ  -97$DVVHVVPHQW  SHQDOWLHVDQG  FRVWVLQFOXGLQJFRVWRISURVHFXWLRQDQG
FRXUWFRVWV
